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                              IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF UTAH, CENTRAL DIVISION


UNITED STATES OF AMERICA,                                 MEMORANDUM DECISION AND
                                                          ORDER DENYING MOTION TO
                             Plaintiff,                   SUPPRESS
v.
                                                          Case No. 2:11-cr-811-DN
ARTURO AMEZCUA,
                                                          District Judge David Nuffer
                             Defendant.


           Defendant Arturo Amezcua filed a Motion to Suppress1 alleging that the affidavit for the

search warrant executed on his home lacked probable cause because (1) it failed to establish that

UM22 or “Torres” was actually Amezcua; (2) it only provided a statement that the property

subject to the search warrant was Amezcua’s residence without a drug nexus; and (3) it relied

solely on a phone conversation referring to Amezcua’s residence location, when the conversation

provides only a general description of the property.

           The United States responds that, under Franks v. Delaware,2 Amezcua is not entitled to

an evidentiary hearing when attacking the validity of the affidavit in support of a search warrant.3

           There is, of course, a presumption of validity with respect to the affidavit
           supporting the search warrant. To mandate an evidentiary hearing, the
           challenger's attack must be more than conclusory and must be supported by more
           than a mere desire to cross-examine. There must be allegations of deliberate
           falsehood or of reckless disregard for the truth, and those allegations must be
           accompanied by an offer of proof. They should point out specifically the portion
           of the warrant affidavit that is claimed to be false; and they should be
           accompanied by a statement of supporting reasons. Affidavits or sworn or

1
  Motion to Suppress Due to Insufficient Probable Cause in Affidavit for Search Warrant (Motion), docket no. 471,
filed November 26, 2012.
2
    438 U.S. 154 (1978).
3
 Government’s Response to Defendant’s Motion to Suppress (Response) at 2, docket no. 474, filed November 29,
2012.
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           otherwise reliable statements of witnesses should be furnished, or their absence
           satisfactorily explained. Allegations of negligence or innocent mistake are
           insufficient.4

           The United States correctly asserts that due to the conclusory allegations in this

motion and the legal principle from the Franks case, known as the “four corners

doctrine,” this court’s review of the validity of the search warrant is limited to a review of

the materials submitted to the issuing magistrate judge.5 Amezcua has not made the

necessary showing that false evidence was presented to the magistrate judge, either

intentionally or recklessly, to permit the court to consider any facts not submitted to the

magistrate judge when signing the warrant. Consequently, under Franks, an evidentiary

hearing is not permitted.

           The court has reviewed the complete affidavit6 as submitted to the magistrate

judge. Amezcua’s three arguments fail because he ignores other facts stated in the

affidavit supporting probable cause. Although the affiant may not have articulated how

the speaker in the recorded conversation, identified as Torres, was later identified as

Amezcua, this does not defeat the probable cause in the affidavit. Clearly, the agents had

identified that the speaker in the recorded conversation lived at the residence address.

Further, after the agents intercepted the conversation between Armenta and the man they

identified as Torres, 7 they set up surveillance of the residence identified in the call and

observed Arementa arriving at the address and walking onto the property.8 The affiant

further states that when Armenta left the residence address, he called his runner, Godinez,

4
    Franks, 438 U.S. at 171.
5
    Response at 3.
6
    Affidavit, attached to Response, docket no. 474-1.
7
    Translated Recorded Call #2025, attached as Exhibit B to Motion.
8
    Affidavit ¶ 6.



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and told him to meet Armenta at Godinez’s house, indicating that Armenta had picked up

drugs at the identified address.9 Accordingly, the affidavit contains facts which establish

a nexus between the drugs and the home address. This nexus was established by

surveillance of the address – something much more substantial that than the “one

intercepted phone call”10 as alleged by Amezcua.

           Accordingly, there was no false evidence provided to the magistrate judge, either

intentionally or recklessly, and under Franks, an evidentiary hearing unnecessary. The

information provided in the affidavit sufficiently established probable cause that drugs

were stored at the named address to support the issuing of the search warrant. The

Motion to Suppress Due to Insufficient Probable Cause in Affidavit for Search Warrant11

is DENIED.



           Signed February 1, 2013.

                                                BY THE COURT




                                                ________________________________________
                                                    District Judge David Nuffer




9
    Id.
10
     Motion at 5.
11
     Docket no. 471.



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